                     THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

 EDWARD G. BYFORD, JR.,

                         Plaintiff,        Case No. 3:11-cv-00193-RRB

              vs.
                                                ORDER of DISMISSAL
 CHARLES MICHAEL CHENAULT,
 et al.,

                         Defendants.

I.    SECTION 1915 SCREENING

      Edward G. Byford, Jr., representing himself, has filed a civil

rights complaint under 42 U.S.C. § 1983, claiming that defendants

have violated his constitutional rights.1 Mr. Byford has also

applied to waive the filing fee and for appointment of counsel.2

The court is, therefore, required to review the complaint, and to

dismiss if the action “(i) is frivolous or malicious; (ii) fails to

state a claim on which relief may be granted; or (iii) seeks

monetary relief against a defendant who is immune from such

relief.”3

      In conducting its review, the court is mindful that it must

liberally construe a self-represented plaintiff's pleadings and

      1
             Docket 1.
      2
             Docket 3 - 5.
      3
             28 U.S.C. § 1915(e)(2)(B).

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give the plaintiff the benefit of the doubt.4           Before a court may

dismiss Mr. Byford's complaint for failure to state a claim upon

which relief may be granted, the court must provide him with a

statement of the deficiencies in the complaint and an opportunity

to amend, unless it is clear that amendment would be futile.5            In

this case, amendment would be futile.

II.   HABEAS CORPUS REMEDY

      As a federal court, this court is a court of limited, as

opposed to general, jurisdiction; it has authority to hear only

specified classes of cases.          It is Mr. Byford's burden, as the

plaintiff, to show that this court has jurisdiction to hear the



      4
          See Porter v. Ollison, 620 F.3d 952 (9th Cir. 2010)
(“Prisoner pro se pleadings are given the benefit of liberal
construction. Erickson v. Pardus, 551 U.S. 89, 94, 127 S. Ct. 2197,
167 L. Ed. 2d 1081 (2007) (per curiam) (‘A document filed pro se is
to be liberally construed’).”); see also Hebbe v. Plier, 627 F.3d
338, 342 (9th Cir. 2010) ("[O]ur 'obligation' remains [after
Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009)], 'where the petitioner
is pro se, particularly in civil rights cases, to construe the
pleadings liberally and to afford the petitioner the benefit of any
doubt.'") (citation omitted).
      5
          See Schmier v. U.S. Court of Appeals for Ninth Circuit,
279 F.3d 817, 824 (9th Cir. 2002) ("Futility of amendment ...
frequently means that 'it was not factually possible for
[plaintiff] to amend the complaint so as to satisfy the standing
requirement.'") (citations excluded); Eldridge v. Block, 832 F.2d
1132, 1136 (9th Cir. 1987); see also Jackson v. Carey, 353 F.3d
750, 758 (9th Cir. 2003) ("dismissal without leave to amend is
improper unless it is clear that the complaint could not be saved
by any amendment. Chang v. Chen, 80 F.3d 1293, 1296 (9th Cir.
1996)").

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claims.6 This court is not a court of appeals for state court

decisions.7 That is, Mr. Byford cannot appeal an adverse state

court decision to this court. Here, it appears that this is what

Mr. Byford is attempting.8

      Mr. Byford alleges that his rights were violated by a variety

of individuals, which appear to have resulted in his recent

conviction in State of Alaska Superior Court Case Number 3KN-09-

01800CR.     Thus, habeas corpus (after full exhaustion of his state

court remedies) is the exclusive federal remedy:

      [W]hen a state prisoner seeks damages in a § 1983 suit,
      the district court must consider whether a judgment in
      favor of the plaintiff would necessarily imply the


      6
          See Kokkonen v. Guardian Life Ins. Co. of America, 511
U.S. 375, 377 (1994); Hunter v. Kalt, 66 F.3d 1002, 1005 (9th Cir.
1995).
      7
          See Worldwide Church of God v. McNair, 805 F.2d 888, 890
(9th Cir. 1986) (citing, inter alia, District of Columbia Court of
Appeals v. Feldman, 460 U.S. 476 (1983)) (a United States district
court “has no authority to review the final determinations of a
state court in judicial proceedings,” even where the challenge to
the state court decision involves federal constitutional issues));
Doe & Associates Law Offices v. Napolitano, 252 F.3d 1026, 1029
(9th Cir. 2001) ("As courts of original jurisdiction ... federal
district   courts   lack   jurisdiction   to  review   the   final
determinations of a state court in judicial proceedings.").
      8
           But see In re Guntz, 202 F.3d 1074, 1079 (9th Cir. 2000)
(noting an exception for writs of habeas corpus: “Rather than
leaving state court judgments undisturbed, it provides expressly
for federal collateral review of final state court judgments, see,
e.g., 28 U.S.C. § 2254, and requires exhaustion of state remedies
as   a   precondition    for  federal   relief,   see   28   U.S.C.
§ 2254(b)(1)(A).”).

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       invalidity of his conviction or sentence; if it would,
       the complaint must be dismissed unless the plaintiff can
       demonstrate that the conviction or sentence has already
       been invalidated.9

Further, “[t]he fact that [a plaintiff] seeks money damages . . .

as a remedy does not alter this conclusion.”10

       If Mr. Byford wishes to complain of actions of the defendants

which have resulted in his state court conviction, he may file may

file a timely11 petition for writ of habeas corpus after all issues

that       he   wishes   to   raise   are   exhausted   in   state   court   by



       9
          Heck v. Humphrey, 512 U.S. 477, 487 (1994); Cunningham v.
Gates, 312 F.3d 1148, 1153 (9th Cir. 2002), quoting Heck, 512 U.S.
at 487 n. 6 (“In evaluating whether claims are barred by Heck, an
important touchstone is whether a § 1983 plaintiff could prevail
only by negating ‘an element of the offense of which he has been
convicted.’”); see also Martin v. Sias, 88 F.3d 774 (9th Cir.
1996), extending Heck v. Humphrey to federal prisoners and Bivens
actions.
       10
          See Wilkinson v. Dotson, 125 U.S. 1242, 1248 (2005) ("a
state prisoner's § 1983 action is barred (absent prior
invalidation) -- no matter the relief sought (damages or equitable
relief), no matter the target of the prisoner's suit (state conduct
leading to conviction or internal prison proceedings) -- if success
in that action would necessarily demonstrate the invalidity of
confinement or its duration."); Butterfield v. Bail, 120 F.3d 1023,
1025 (9th Cir. 1997).
       11
          There is a one-year limitations period in which to file
a habeas petition under 28 U.S.C. § 2254.           See 28 U.S.C.
§ 2244(d)(1); see also, Wixom v. State of Washington, 264 F.3d 894
(9th Cir. 2001) (state court of appeals' denial of petitioner's
motion to modify ruling affirming conviction and sentence was a
final order, so that expiration of the time to appeal that final
order triggered one-year limitations period for filing petition for
habeas relief).

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presentation first to the Alaska Superior Court then, if he is

unhappy with that result, to the Alaska Court of Appeals and then,

if he is unhappy with that result, in a petition for hearing to the

Alaska Supreme Court.12

III. IMMUNITY

      In addition, Mr. Byford has listed as defendants a judge,

witnesses in his criminal trial, a legislator, and attorneys in the

State Attorney General’s Office.13            Most, if not all, of these

defendants may be immune from suit.14              However, for the other

reasons explained in this order, the court need not specifically

decide this issue.


      12
          See 28 U.S.C. § 2254(b)(1)(A); see also O’Sullivan v.
Boerckel, 526 U.S. 838, 844 (1999); Peterson v. Lampert, 319 F.3d
1153, 1155-56 (9th Cir. 2003) ("A federal court may not grant
habeas relief to a state prisoner unless he has properly exhausted
his remedies in state court.... A petitioner must exhaust his state
remedies by reaching the point where he has no state remedies
available to him at the time he files his federal habeas
petition."); Zichko v Idaho. 247 F.3d 1015, 1022 (9th Cir. 2001)
("A habeas petitioner must present his claims to the state's
highest court in order to satisfy the exhaustion requirement of 28
U.S.C. §§ 2254(b)(1) and (c)").
      13
              Docket 1 at 2 - 4.
      14
          See, e.g., Mireles v. Waco, 502 U.S. 9, 11-12 (1991)
(judicial immunity); Kalina v. Fletcher, 522 U.S. 118 (1997)
(discussing perimeters of prosecutorial immunity); Miller v.
Gammie, 335 F.3d 889 (9th Cir. 2003) (prosecutorial immunity);
Community House, Inc. v. City of Boise, Idaho, 623 F.3d 945 (9th
Cir. 2010) (discussing the perimeters of legislative immunity, and
individual versus official capacity claims); Cruz v. Kauai County,
279 F.3d 1064, 1068 (9th Cir. 2002) (discussing witness immunity).

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IV.    STATUTE OF LIMITATIONS

       Mr. Byford has also claimed of events that occurred far beyond

the two-year limitations period for filing a civil rights action in

this    court15     and   appear   to   involve     a    long-term    feud   between

Mr. Byford and two of the defendants in particular.                   For instance,

Mr. Byford claims:          “On 6-26-06, Sharlyn Sue Wright filed a false

police report with Trooper Terrence Shanigan [also a defendant] to

keep Edward Byford off his leased commercial property in Sterling

Alaska, when Edward Byford tried reporting Charles Michael Chenault

and Sharlyn Sue Wright’s criminal activities to the troopers.”16

Mr. Byford also claims, for example: “On 3-10-08, Edward Byford

filed a complaint with Sgt. Dan Donaldson with the Alaska State

Troopers about the abuse from Charles Michael Chennault and Sharlyn

Sue Wright. Sharlyn Sue Wright filed a stalking order against

Edward Byford and naming Sgt. Dan Donaldson as a co-conspirator in

an attempt to stop Edward Byford from filing any reports and having

any    credibility        with   the   Department       of   Public   Safety.   Later




       15
          See Wallace v. Kato, 549 U.S. 384, 387 (2007) (citations
omitted); see also Carpenteria Valley Farms v. County of Santa
Barbara, 344 F.3d 822, 828 (9th Cir. 2008) ("The applicable statute
of limitations for actions brought pursuant to 42 U.S.C. § 1983 is
the forum state's statute of limitations for personal injury
actions."); see also AS 09.10.070.
       16
               Docket 1 at 5.

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stalking      order   was   proven   false   and   dismissed."17   Mr.    Byford

complains of the “theft” of his property, allegedly by Ms. Wright,

in 2005 - 2006.18        To the extent that Mr. Byford's claims involve

events that occurred more than two years before he brought this

action, his claims are likely to be barred by the statute of

limitations.19

V.    FRIVOLOUS AND IMPLAUSIBLE CLAIMS

      Most important in this case is that "a complaint . . . is

frivolous where it lacks an arguable basis either in law or in

fact.”20     A complaint may be dismissed as frivolous if it “merely




      17
              Id.
      18
              Id. at 8 - 9.
      19
          But see, ee e.g., Smith v. Thompson, 923 P.2d 101, 105
(Alaska 1996) (a statute may be equitably tolled when the plaintiff
has more than one legal remedy available and "(1) pursuit of the
initial remedy gives defendant notice of plaintiff's claim,
(2) defendant's ability to gather evidence is not prejudiced by the
delay, and (3) plaintiff acted reasonably and in good faith. The
statute is tolled only when the initial remedy is pursued in a
judicial or quasi-judicial forum").
      20
          Neitzke v. Williams, 490 U.S. 319, 325 (1989); see also
Martin v. Sias, 88 F.3d 774, 775 (9th Cir. 1996); Cato v. United
States, 70 F.3d 1103, 1106 (9th Cir. 1995).

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repeats pending or previously litigated claims,”21 as set forth

above.22

      “Factual frivolousness includes allegations that are clearly

baseless, fanciful, fantastic, or delusional.”23             And claims must

be factually plausible as well.24 The court finds the claims alleged

by Mr. Byford to be factually implausible.

      IT IS HEREBY ORDERED that:

      1.      This case is DISMISSED without prejudice to filing a

timely petition for writ of habeas corpus after Mr. Byford fully

exhausts all of his available state court remedies.

      2.      The application to waive the filing fee and for appointed

counsel at Dockets 3 and 4 are DENIED.




      21
           Cato, 70 F.3d at 1105 n. 2 (citations and internal
quotations omitted); see also Denton v. Hernandez, 504 U.S. 25, 31
(1992) (recognizing that an IFP litigant may lack the economic
incentives to refrain from filing frivolous or repetitive
lawsuits).
      22
              See State of Alaska v. Edward G. Byford, Jr., 3KN-09-
01800CR.
      23
          Denton v. Hernandez, 504 U.S. 25, 32-33 (1992) (citing
Neitzke v. Williams, 490 U.S. 319, 325, 327, 328 (1989) (“[A]
complaint . . . is frivolous where it lacks an arguable basis
either in law or in fact.”) Id. at 325.).
      24
              See Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009).

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      3.     The Clerk of Court is directed to enter a judgment in

this case.

      ENTERED this 26th day of October, 2011.

                                   S/RALPH R. BEISTLINE
                                   UNITED STATES DISTRICT JUDGE




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